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  May 15, 2023


  Via ECF


  The Honorable Vera M. Scanlon
  United States Magistrate Judge
  U.S. District Court, Eastern District of New York
  225 Cadman Plaza East, 1214 South
  Brooklyn, New York 11201

  Re: Henkin, et al. v. Qatar Charity, et al., 21-cv-05716-AMD-VMS
      Corrected

  Dear Judge Scanlon:
          My firm represents the Plaintiffs in the above-captioned action. We submit this letter
  jointly with counsel for Defendants, in compliance with this Court’s May 15, 2023 order and
  Judge Donnelly’s May 13, 2023 order. The parties have met and conferred concerning a proposed
  schedule for jurisdictional discovery, and have agreed upon the following:
        May 15, 2023: Deadline for Defendants to serve objections to Plaintiffs’ Interrogatories
         and Requests for Production (“RFPs”) that were served on April 13, 2023.
        May 22, 2023: Deadline for Plaintiffs to move to compel based upon Defendants’ written
         objections only.
         May 25, 2023: Deadline for Defendants to respond to Plaintiffs’ motion to compel.
        June 30, 2023: Deadline for Defendants to complete their productions of documents in
         response to RFPs for which Defendants have no objection or otherwise upon which the
         parties reach agreement.
        July 15, 2023: Deadline for Defendants to complete their responses to Plaintiffs’
         Interrogatories.


                                                    Respectfully submitted,

                                                    /s/ Patrick L. Rocco
